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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
                           AUSTIN DIVISION


ERASTO ARROYO BARCENAS, et al.,

          Plaintiffs, Individually and on
          Behalf of the Class of Those                Case No. 1:22-cv-00397-RP
          Similarly Situated,

                  v.

STEVEN MCCRAW in his individual
capacity, et al.,

          Defendants.




        BRIEF OF IMMIGRATION REFORM LAW INSTITUTE
         AS AMICUS CURIAE IN SUPPORT OF DEFENDANTS’
      MOTIONS TO DISMISS THE SECOND AMENDED COMPLAINT




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                                    INTRODUCTION

       In their second amended complaint, Plaintiffs attempt to raise selective

enforcement claims against Defendants under both the Fourth and Fourteenth

Amendment and purport to raise these common claims on behalf of a class of those

similarly situated. Plaintiffs were arrested and detained for violating Texas Penal Code

§ 30.05 as part of Texas’s Operation Lone Star (“OLS”). According to Plaintiffs, they

were arrested “solely on reasonable suspicion or knowledge that a person was unlawfully

present in the United States” in violation of the Fourth Amendment. But the facts alleged

in the complaint reflect that Plaintiffs were arrested on probable cause that they violated

Texas’s criminal trespass statute and, even if accepted as true, cannot show that they were

arrested “solely” on account of their perceived immigration status. Because the arrest

affidavits establish probable cause for Plaintiffs’ arrests regardless of immigration status,

they have failed to state a plausible claim for relief under the Fourth Amendment.

       Plaintiffs also allege that they were subject to selective enforcement under OLS on

the basis of their race and immigration status in violation of the Fourteenth Amendment’s

Equal Protection Clause. But Plaintiffs fail to allege that a similarly situated group of

persons of different race or immigration status than themselves were treated differently

under the law, as they must to make an equal protection claim. Indeed, Plaintiffs fail to

allege that anyone of any race or immigration status was treated differently under OLS.

Because Plaintiffs fail to state a claim for which relief can be granted, the Court should

dismiss their second amended complaint.
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                                             ARGUMENT

I.       Plaintiffs’ Fail to State a Plausible Fourth Amendment Claim

            Plaintiffs must plead sufficient facts to “state a claim to relief that is plausible on

     its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A claim has facial plausibility

     when the plaintiff pleads factual content that allows the court to draw the reasonable

     inference that the defendant is liable for the misconduct alleged.” Id.

            In their second amended complaint, Plaintiffs assert that “the OLS process of

     unilateral detention ‘based solely on reasonable suspicion or knowledge that a person was

     unlawfully present in the United States’ is a violation of the Fourth Amendment.” Dkt. 10

     ¶¶ 59, 131. But Plaintiffs assertion that detention under OLS is based “solely” on

     Defendants’ suspicion or knowledge that Plaintiffs are unlawfully present in the United

     States is not plausible in light of the facts alleged, or is based on a misreading of Arizona

     v. United States.

            Under the Immigration and Nationality Act (“INA”), aliens who have committed

     (or have been convicted of) certain criminal offenses are removable as criminal aliens.

     See generally 8 U.S.C. §§ 1182(a)(2)(A)-(I) (listing criminal offenses that render aliens

     inadmissible); 1227(a)(2)(A)-(F) (listing criminal offenses that render aliens deportable).

     In Arizona v. United States, the state of Arizona enacted a statute authorizing state

     officers to arrest such criminal aliens “‘if the officer has probable cause to believe . . .

     [the person] has committed any public offense that makes [him] removable from the

     United States.’” 567 U.S. 387, 407 (2012) (quoting Ariz. Rev. Stat. Ann. § 13-
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3883(A)(5)). In other words, the Arizona statute authorized state officers to arrest and

detain criminal aliens based solely on the fact that a prior criminal offense rendered the

alien removable under the INA.

       The Supreme Court held that the Arizona statute is preempted by federal law,

reasoning that the statute provided state officers “even greater authority to arrest aliens on

the basis of possible removability than Congress has given to trained federal immigration

officers,” that “[t]his state authority could be exercised without any input from the

Federal Government about whether an arrest is warranted in a particular case,” and that it

“would allow the State to achieve its own immigration policy.” Id. at 408. Because the

Arizona statute “violates the principle that the removal process is entrusted to the

discretion of the Federal Government,” the Court held that the statute was an obstacle to

the full purposes and objectives of Congress and therefore preempted by federal law. Id.

at 409-10. Further, the Court stated that because it is not a federal crime for a removable

alien to remain present in the United States, “[i]f the police stop someone based on

nothing more than possible removability, the usual predicate for an arrest is absent.”

Arizona, 567 U.S. at 407 (emphasis added).

       The Fifth Circuit has recognized that “Arizona denied state officers the power to

unilaterally make removability determinations because ‘[a] decision on removability

requires a determination whether it is appropriate to allow a foreign national to continue

living in the United States’ and such decisions ‘touch on foreign relations and must be

made with one voice.’” City of El Cenizo v. Texas, 890 F.3d 164, 188 (5th Cir. 2018)
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(quoting Arizona, 567 U.S. at 409). Thus, state officers cannot arrest unlawful aliens

based solely on their illegal presence in the United States absent a request for cooperation

by federal authorities. See Arizona, 567 U.S. at 410 (noting that state officers may

cooperate with federal officials in the arrest and detention of illegal aliens).

       Here, Plaintiffs’ reliance on Arizona is misplaced or distinguishable. Plaintiffs rely

on Arizona to argue that it is unlawful for officers to arrest an alien who they believe “is

removable by reason of some ‘public offense’” and suggest that they were targeted for

arrest based solely on Defendants’ belief that Plaintiffs are removable aliens. Dkt. 10 at

¶¶ 56, 59, 128, 131. But the “public offense[s]” at issue in Arizona are those criminal

offenses that render an alien removable under the INA. See 8 U.S.C. §§ 1182(a)(2),

1227(a)(2). Nowhere do Plaintiffs allege that Defendants understood that the offense of

criminal trespass under Texas Penal Code § 30.05 would render an alien deportable or

that they would become removable once arrested for that offense. Nor do Plaintiffs

plausibly allege that Defendants arrested them “solely” for being unlawfully present in

the United States. Instead, as Governor Abbott observes in his motion to dismiss, the

arrest affidavits presented by Plaintiffs show that they were arrested based upon the

reasonable belief that they had committed criminal trespass in violation of Texas Penal

Code § 30.05. See Dkt. 15 at 10 n.1 (citing arrest affidavits). To the extent that the

Plaintiffs’ race or national origin was mentioned in the arrest affidavits, it was to describe

who they are, not what they did. See Dkt. 15 at 19 (“Plaintiffs were arrested because of

what they did—criminally trespass—not who they were.”).
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         To the extent that Plaintiffs allege that the probable cause affidavits reflect

  “detention and arrest based upon immigration status,” Dkt. 10 ¶¶ 59, 131, their

  allegations do not plausibly state a claim. “[T]he constitutional basis for objecting to

  intentionally discriminatory application of laws is the Equal Protection Clause, not the

  Fourth Amendment. Subjective intentions play no role in ordinary, probable-cause Fourth

  Amendment analysis.” Whren v. United States, 517 U.S. 806, 813 (1996).

II.   Plaintiffs’ Failure to Specifically Allege the Actual Existence of a Similarly
      Situated Group of Persons Who are Treated Differently is Fatal to Their Equal
      Protection Claims

         The Equal Protection clause of the Fourteenth Amendment prohibits racial

  discrimination in the enactment or enforcement of laws. U.S. Const. amend. 14. “To state

  a claim of racial discrimination under the Equal Protection Clause and section 1983, the

  plaintiff[s] must allege and prove that [they] received treatment different from that

  received by similarly situated individuals and that the unequal treatment stemmed from a

  discriminatory intent.” Bowlby v. City of Aberdeen, 681 F.3d 215, 227 (5th Cir. 2012)

  (internal quotations omitted).

         Plaintiffs allege that arrests under OLS “are severely racially disparate: the

  overwhelming majority (if not all) arrests are of Black and Brown men.” Dkt. 10 ¶¶ 61,

  134. But nowhere do Plaintiffs specifically allege the actual existence of a similarly

  situated group of persons who are being treated differently under OLS. As a prerequisite

  to an equal protection claim, “the plaintiff must prove that similarly situated individuals

  were treated differently.” Bryan v. City of Madison, 213 F.3d 267, 276 (5th Cir. 2000)
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(citing Wheeler v. Miller, 168 F.3d 241, 252 (5th Cir. 1999)); see also Gallegos-

Hernandez v. United States, 688 F.3d 190, 195 (5th Cir. 2012) (requiring a plaintiff to

allege “that two or more classifications of similarly situated persons were treated

differently”); Samaad v. Dallas, 940 F.2d 925, 941 n.31 (5th Cir. 1991) (“It is well

settled that the plaintiff must specifically allege the actual existence of a similarly

situated group of persons.”); United States v. Rice, 659 F.2d 524, 526 (5th Cir. 1981)

(“To prevail in a selective prosecution challenge, a defendant must first make a prima

facie showing that he has been singled out for prosecution while others similarly situated

and committing the same acts have not.”).

       Plaintiffs have not identified anyone, much less an identifiable group of

individuals, regardless of race or national origin, who have been treated differently under

OLS. Because Plaintiffs fail to clear the first hurdle for stating an equal protection claim,

the Court cannot determine the level of scrutiny with which to review the alleged group

discrimination or classification. Cf. Gallegos-Hernandez, 688 F.3d at 195 (“Once [the

classification of similarly situated individuals] is established, the court must then

determine the appropriate level of scrutiny.”). Absent disparate treatment of similarly

situated individuals, no suspect class has been treated unequally. As the Samaad Court

concluded:

       The Equal Protection Clause proscribes racially-motivated differential
       treatment. As we said in [United States v.] Cronn, 717 F.2d [164,] 169 [(5th
       Cir. 1983)], “the essence of an equal protection claim is that other persons
       similarly situated as is the claimant unfairly enjoy benefits that he does not
       or escape burdens to which he is subjected.” In the case at bar, there simply
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       is no similarly situated group of whites that have escaped the burdens to
       which plaintiffs have been subjected. The complaint does not even allege
       that defendants chose between similarly situated blacks and whites in
       determining where to hold the grand prix race. Accordingly, it fails to state
       a constitutional violation.

940 F.2d at 941-942.

       Plaintiffs also contend that OLS violates the Equal Protection Clause because

Plaintiffs are allegedly subject to prolonged detention based on race. Dkt. 10 ¶ 142.

Again, Plaintiffs fail to allege a specific group of individuals who have been treated

differently under OLS, and Plaintiffs’ reliance on Justice Gorsuch’s dissenting opinion in

Nieves v. Bartlett is of no avail. Dkt. 10 ¶¶ 60, 133, 142 (“Everyone accepts that a

detention based on race, even one otherwise authorized by law, violates the Fourteenth

Amendment’s Equal Protection Clause.”) (quoting Nieves v. Bartlett, 139 S. Ct. 1715,

1731 (2019) (Gorsuch, J., dissenting)) (emphasis by Plaintiffs). Justice Gorsuch stated

nothing irreconcilable with the requirement to allege the existence of a similarly situated

group that is treated differently. Indeed, the quoted sentence in context makes clear that

Justice Gorsuch was describing a situation in which there was a similarly situated group

treated differently based on race:

       Here’s a way to test the point, too. Everyone accepts that a detention based
       on race, even one otherwise authorized by law, violates the Fourteenth
       Amendment’s Equal Protection Clause. In Yick Wo v. Hopkins, 118 U. S.
       356, 6 S. Ct. 1064, 30 L. Ed. 220 (1886), for example, San Francisco jailed
       many Chinese immigrants for operating laundries without permits but took
       no action against white persons guilty of the same infraction. Even if
       probable cause existed to believe the Chinese immigrants had broken a
       valid law—even if they had in fact violated the law—this Court held that
       the city’s discriminatory enforcement violated the Fourteenth Amendment.
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       Id., at 373-374, 6 S. Ct. 1064, 30 L. Ed. 220; see also Whren v. United
       States, 517 U. S. 806, 813, 116 S. Ct. 1769, 135 L. Ed. 2d 89 (1996).
       Following our lead, the courts of appeals have recognized that §1983
       plaintiffs alleging racially selective arrests in violation of the Fourteenth
       Amendment don’t have to show a lack of probable cause, even though they
       might have to show a lack of probable cause to establish a violation of the
       Fourth Amendment.

Nieves, 139 S. Ct. at 1731. Unlike the situation described by Justice Gorsuch, Plaintiffs

fail to allege that anyone, much less an identifiable group of similarly situated

individuals, is being treated differently from Plaintiffs or that OLS arrests or detentions

depend on the race or national origin of the offender.

       As set forth above, Plaintiffs fail to state a claim based on either the Fourth or

Fourteenth Amendment. Inasmuch as the only common claims of Plaintiffs’ purported

class consists of these fatally-flawed claims, the Court should dismiss the Plaintiffs’

second amended complaint.

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                                   CONCLUSION

      For the foregoing reasons, the Court should grant Defendants’ motions to dismiss

Plaintiffs’ second amended complaint.

Respectfully submitted on August 23, 2022,

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                           CERTIFICATE OF SERVICE

      I hereby certify that on August 23, 2022, a true and accurate copy of the foregoing

document was filed electronically (via CM/ECF) and served on all counsel of record.

                                               /s/ Matt Crapo

                                               MATT A. CRAPO
